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Continuing Temporary Suspension and Modification of Laws
Relating to the Disaster Emergency

WHEREAS, on March 7, 2020, J issued Executive Order Number 202, declaring a State disaster
emergency for the entire State of New York: and

WHEREAS, both travel-related cases and commpiunity contact transmission of COVID-19 have
been documented in New York State and are expected to continue;

NOW, THEREFORE, Il, ANDREW M. CUOMO, Governor of the State of Now York, by virtue
of the authority vested in me by the Constitution and the Laws of the State of New York, do hereby find
that a disaster continues to exist for which affected state agencies and local governments are unable to
respond adequately. Therefore, pursuant to the authority vested in me by the Constitution of the State of
New York and Section 28 of Article 2-B of the Executive Law, L hereby continue the declaration of the
State Disaster Emergency effective March 7, 2020, as sct forth in Executive Order 202. This Executive
order shal) remain in effect until November 3, 2020. ,

IN ADDITION, ], Andrew M. Cuomo, Governor of the State of New York, by virtue of the
authority vested in me by Section 29-a of Article 2-B of the Executive Law to temporarily suspend or
modify any statute, local law, ordinance, order, rule, or regulation, or parts thereof, of any agency during a
State disaster emergency, if compliance with such statute, local law, ordinance, order, nile, or regulation
would prevent, hinder, or delay action necessary to cope with the disaster emergency or if necessary to
assist or aid in coping with such disaster, or to provide any directive necessary fo respond to the disaster, do
hereby continue the suspensions and modifications of law, and any directives not superseded by a
subsequent directive contained in Executive Orders 202 up to and including 202.21, and 202.27, 202.28,
202.29, 202.30, 202.38, 202.39, 202.40, 202.48, 202.49, 202.50, 202.55 and 202.55.1, as extended, and
Executive Order 202.60 for another thirty days through November 3, 2020, except:

+ Subdivision 1 of Section 491 of the Vehicle and Traffic law, to the extent that it provides for
a period of validity and expiration of a non-driver identification card, shall no longer be
suspended or modified as of November 3, 2020;

« Sections 401, 410, 2222, 2251, 2251, and 2282(4) of the Vehicle and Traffic law, to the
extent that it provides for a period of validity and expiration of a registration certificate or
number plate for a motor vehicle or trailer, a motorcycle, 2 snowmobile, a vessel, a limited
use vehicle, and an all-terrain vehicle, shall no longer be suspended or modified as of
November 3, 2020;

* Section 420-a of the Vehicle and Traffic law, to the extent that it provides an expiration for
temporary registration documents issued by auto dealers shall no longer be suspended or
modified as of November 3, 2020; and

* The suspension in Executive Order 202.8, as modified and extended in subsequent
Executive Orders, that tolled any specific time linut for the commencement, filing, or
service of any Iegal action, notice, motion, or other process or proceeding as prescribed by
the procedural laws of the state, including but not limited to the criminal procedure law, the
family court act, the civil practice law and mules, the court of claims act, the surrogate’s court
procedure act, and the uniform court acts, or by any statute, local law, ordinance, order, rule,
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or regulation, or part thereof, is hereby continued, as modified by prior executive orders,
provided however, for any civil case, such suspension is only effective until November 3,
2020, and after such date any such time limit will no longer be tolled, and provided further:

© The suspension and modification of Section 30.30 of the criminal procedure law, as
continued and modified in EO 202.60, is hereby no longer in effect, except for felony
charges entered in the counties of New York, Kings, Queens, Bronx, and Richmond,
where such suspension and modification continues to be effective through October
19, 2020; thereafier for these named counties the suspension is no longer effective on
such date or upon the defendant’s arraignment on an indictment, whichever is later,
for indicted felony matters, otherwise for these named counties the suspension and
modification of Section 30.30 of the criminal procedure law for all criminal actions
proceeding on the basis of a felony complaint shall no longer be effective,
irrespective, 90 days from the signing of this Executive order on January 2, 2021.

GIVEN under my hand and the Privy Seal of the
State in the City of Albany this fourth
day of October in the year two

thousand twenty.

BY THE GOVERNOR eet

Secretary to the Governor
